 Case 1:22-mc-20707-JEM Document 23-14 Entered on FLSD Docket 06/10/2022 Page 1 of 11
AO 88A (Rev. /) Subpoena to Testify at a Deposition in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                            for the
                                                          Southern District
                                                       __________  District of
                                                                            of Florida
                                                                               __________

                          Farhad Azima                                         )
                               Plaintiff                                       )
                                  v.                                           )      Civil Action No.      22-mc-20707-JEM
        Insight Analysis and Research LLC, et al.                              )
                                                                               )
                              Defendant                                        )

                             SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

 To:                                                                         Amit Forlit

                                                       (Name of person to whom this subpoena is directed)

       ✔
       u 7HVWLPRQ\<28$5(&200$1'('WRDSSHDUDWWKHWLPHGDWHDQGSODFHVHWIRUWKEHORZWRWHVWLI\DWD
GHSRVLWLRQWREHWDNHQLQWKLVFLYLODFWLRQ,I\RXDUHDQRUJDQL]DWLRQ\RXPXVWSURPSWO\FRQIHULQJRRGIDLWKZLWKWKH
SDUW\VHUYLQJWKLVVXESRHQDDERXWWKHIROORZLQJPDWWHUVRUWKRVHVHWIRUWKLQDQDWWDFKPHQWDQG\RXPXVWGHVLJQDWHRQH
RUPRUHRIILFHUVGLUHFWRUVRUPDQDJLQJDJHQWVRUGHVLJQDWHRWKHUSHUVRQVZKRFRQVHQWWRWHVWLI\RQ\RXUEHKDOIDERXW
WKHVHPDWWHUV

 Place: Carlton Fields                                                                 Date and Time:
           700 NW 1st Ave., Suite 1200                                                                   06/30/2022 10:00 am
           Miami, FL 33136

          The deposition will be recorded by this method:                     Videotape

       ✔
       u Production:    You, or your representatives, must also bring with you to the deposition the following documents,
          electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
          material: See Schedule A




       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:
                                   CLERK OF COURT
                                                                                           OR
                                                                                                         s/ Vanessa Singh Johannes
                                           Signature of Clerk or Deputy Clerk                                  Attorney’s signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party)    Farhad Azima
                                                                        , who issues or requests this subpoena, are:
Vanessa Singh Johannes, 700 NW 1st Ave., Suite 1200, Miami, FL 33136; vjohannes@carltonfields.com; 305-530-0050

                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
 Case 1:22-mc-20707-JEM Document 23-14 Entered on FLSD Docket 06/10/2022 Page 2 of 11
AO 88A (Rev. 2/) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No. 22-mc-20707-JEM

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                       .

          u I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

          u I returned the subpoena unexecuted because:
                                                                                                                                 .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                      for services, for a total of $   0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                          Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc.:
 Case 1:22-mc-20707-JEM Document 23-14 Entered on FLSD Docket 06/10/2022 Page 3 of 11

AO 88A (Rev. 2/) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
Case 1:22-mc-20707-JEM Document 23-14 Entered on FLSD Docket 06/10/2022 Page 4 of 11




                                             SCHEDULE A

           Pursuant to 28 U.S.C. § 1782, Farhad Azima, by and through undersigned counsel,

    requires that Amit Forlit produce for inspection each of the documents and tangible things

    described below at “DOCUMENTS AND THINGS TO BE PRODUCED.”


                                            INSTRUCTIONS
           1.      This Subpoena calls for you to undertake a diligent search and produce all

    documents, electronically stored information, and tangible things identified below under the

    heading “DOCUMENTS AND THINGS TO BE PRODUCED,” that are within your possession,

    custody, or control, including documents, electronically stored information, and tangible things

    in the possession, custody, or control of your directors, officers, agents, employees, consultants,

    representatives, or in the possession, custody, or control of any “person” (as defined herein)

    whom you control, and, unless privileged, your attorneys.

           2.      All documents that respond, in whole or in part, to any portion of this Subpoena

    are to be produced in their entirety, without abbreviation or expurgation, including all

    attachments or other matter affixed thereto.

           3.      If you object to any of these document requests, then you shall state the reasons

    for your objections. If you object to any part of a document request, then you shall further

    specify the part. Similarly, if you do not object to a particular document request, but are unable

    to comply fully with that request, then you shall comply to the fullest extent possible and provide

    an explanation for your lack of full compliance.

           4.      When information is withheld from discovery on a claim that it is privileged,

    subject to protection as trial preparation materials, or otherwise privileged or protected from

    disclosure, the claim shall be made expressly and shall be supported by a description of the


                                                       1
Case 1:22-mc-20707-JEM Document 23-14 Entered on FLSD Docket 06/10/2022 Page 5 of 11




    nature of the document, communications, or things not produced that is sufficient to enable the

    propounding party to contest the claim of privilege, as provided in Fed. R. Civ. P. 45(e)(2)(A).

           5.      If no documents are responsive to a particular request, you are to state that no

    responsive documents exist.

           6.      If any document responsive to this request was, but no longer is, in your

    possession, state whether it is missing or lost; if it has been destroyed; if it has been transferred,

    voluntarily or involuntarily, to others; or if it has otherwise been disposed of. In each instance,

    identify the document fully, explain the circumstances, and identify the people having

    knowledge of such circumstances.

           7.      If you contend that any documents covered in these requests are not reasonably

    accessible or would be unduly burdensome to locate or produce, identify such documents by

    category and source and provide detailed information regarding the burden or cost you claim is

    associated with the search for or production of such documents.

           8.      Please produce electronically stored information in accordance with the

    instructions, data delivery standards, delivery formats, and Adobe PDF file production formats,

    and with the fields specified, in Exhibit A (“Miller & Chevalier Standard Production

    Guidelines”) hereto.

           9.      To the extent you intend to not produce a requested document, you are directed to

    make and safeguard a copy of the requested information.

           10.     The relevant time period for documents responsive to the following requests shall

    be between January 1, 2015 until now unless otherwise specified.




                                                       2
Case 1:22-mc-20707-JEM Document 23-14 Entered on FLSD Docket 06/10/2022 Page 6 of 11




                                               DEFINITIONS

           1.      The term “any” shall be understood to include and encompass “all.” As used

    herein, the singular shall always include the plural, and the present tense shall also include the

    past tense. The words “and” as well as “or” shall be construed disjunctively or conjunctively as

    necessary to bring within the scope of this request all documents or things which might

    otherwise be construed to be outside its scope.

           2.      The term “communication” shall be defined and construed to the broadest extent

    possible and shall have the same meaning as used in Fed. R. Civ. P. 34. “Communication” shall

    include any oral, written, or electronic transmission of information, including without limitation

    any face-to-face meetings, letters, emails, text messages, social media messaging, or telephone

    calls, chat rooms, or group list serves.

           3.       The term “document” shall be defined and construed to the broadest extent

    possible and shall have the same meaning as used in Fed. R. Civ. P. 34.

           4.       The term “person” means any natural person, corporation, partnership, firm,

    proprietorship, limited liability company, association trust, department, organization, joint

    venture, governmental entity, group of persons or any other entity of whatever nature.

           5.       The terms “relate to” or “relating to” means consisting of, referring to, regarding,

    reflecting, supporting, prepared in connection with, used in preparation of, or being in any way

    logically or factually connected with the matter discussed.

           6.       The term “RAKIA” refers to the Ras Al Khaimah Investment Authority, the

    state-owned investment arm of the United Arab Emirate kingdom of Ras Al Khaimah.

           7.       The term “Mr. Neil Gerrard” refers to the Dechert LLP partner who represented

    RAKIA during its investigation of Mr. Azima.



                                                      3
Case 1:22-mc-20707-JEM Document 23-14 Entered on FLSD Docket 06/10/2022 Page 7 of 11




           8.       The term “Mr. Stuart Page” refers to the investigator employed by the Ruler of

    Ras Al Khaimah to investigate Mr. Azima. Mr. Page also employed and paid Mr. Amit Forlit and

    Insight over the course of the investigation.

           9.       The term “Mr. David Hughes” refers to the former Dechert LLP and Stewarts

    Law LLP partner who assisted Mr. Neil Gerrard in RAKIA’s investigation of Mr. Azima.

           10.      The term “Mr. Jamie Buchanan” refers to the former CEO of RAK Development

    LLC. Beginning from November 2014, Mr. Buchanan was authorized to act on RAKIA’s behalf.

           11.      The term “Page Group” refers to Mr. Page’s network of companies through

    which he operates, including but not limited to Page Group ME Ltd.

           12.      The term “Mr. Majdi Halabi” refers to the Israeli journalist and associate of Mr.

    Forlit who testified falsely on RAKIA’s behalf at Mr. Azima’s trial that he discovered links to

    the hacked data through online Google searches.

           13.      The term “Alon Omri Gurlavie” refers to the individual listed as the authorized

    member of Insight Analysis and Research LLC.

           14.      The term “Dechert” refers to the international law firm Dechert LLP and all

    employees, agents, representatives, subsidiaries, affiliates, assignees, or other persons acting or

    purporting to act on its behalf.

           15.      The term “Stewarts Law” refers to the London-based law firm Stewarts Law

    LLP and all employees, agents, representatives, subsidiaries, affiliates, assignees, or other

    persons acting or purporting to act on its behalf.

           16.      The term “the Project” refers to the investigation carried out by Mr. Stuart Page

    on behalf of RAKIA, alternatively known as “the RAK Project,” “Project Beech, or “Project

    Beach.”



                                                         4
Case 1:22-mc-20707-JEM Document 23-14 Entered on FLSD Docket 06/10/2022 Page 8 of 11




            17.       The terms “torrents” and “WeTransfer links” refer to links to file distribution

    sites, which were used by the hackers to distribute Mr. Azima’s hacked data over the internet.

            18.       The term “websites” includes all web pages or blogs, including but not limited to

    https://farhadazimascams.blogspot.com/ and https://farhadazima.wordpress.com/ and

    https://azimafraud.wordpress.com/

            19.       The term “Mr. Azima’s trial” refers to the January 2020 U.K. trial between

    RAKIA and Mr. Azima, captioned Farhad Azima -v- (1) RAKIA (2) David Neil Gerrard (3)

    Dechert LLP and (4) James Edward Deniston Buchanan (Claim Number: HC-2016-002798).

            20.       The term “hacked data” refers to Mr. Azima’s data stolen by hackers in 2016 and

    subsequently used by RAKIA during Mr. Azima’s trial in January 2020.

            21.       The term “Azima’s Associates” includes but is not limited to the following

    individuals:

                  •   Khater Massaad
                  •   Ray Adams
                  •   Afsaneh Azadeh
                  •   Chris Cooper

            22.       The term “Insight” refers to Insight Analysis and Research LLC and all

    employees, agents, representatives, subsidiaries, affiliates, assignees, or other persons acting or

    purporting to act on its behalf.

            23.       The term “SDC-Gadot” refers to SDC-Gadot LLC and all employees, agents,

    representatives, subsidiaries, affiliates, assignees, or other persons acting or purporting to act on

    its behalf.

            24.       The term “Gadot” refers to Gadot Information Services and all employees,

    agents, representatives, subsidiaries, affiliates, assignees, or other persons acting or purporting to

    act on its behalf.

                                                      5
Case 1:22-mc-20707-JEM Document 23-14 Entered on FLSD Docket 06/10/2022 Page 9 of 11




           25.      The term “you” refers to Respondent Mr. Amit Forlit and all employees, agents,

    representatives, subsidiaries, affiliates, assignees, or other persons acting or purporting to act on

    your behalf.




                                                      6
Case 1:22-mc-20707-JEM Document 23-14 Entered on FLSD Docket 06/10/2022 Page 10 of
                                      11



                              DOCUMENTS AND THINGS TO BE PRODUCED

          1.      All documents and communications from February 2015 to present relating to or

   reflecting any work performed by you, Insight, or SDC-Gadot, Gadot, or any other entity you

   performed work for, relating directly or indirectly to Mr. Farhad Azima or Azima’s Associates,

   including but not limited to:

                  a. All reports prepared about Mr. Azima and/or Azima’s Associates;

                  b. All documents of Mr. Azima or others obtained for the Project, including all

                      hacked data from Mr. Azima or Azima’s Associates, whether or not it was

                      included in a report;

                  c. All engagement letters relating to Mr. Azima or the Project;

                  d. All invoices for the Project, including but not limited to invoices sent to Page

                      Group ME Ltd and any other Page Group entity;

                  e. All records of payments for the project for you personally, and through

                      Insight, SDC-Gadot, Gadot, or any other entities through which you were

                      paid;

                  f. All communications regarding Mr. Azima or Azima’s Associates; and

                  g. All communications about any websites, torrents, or WeTransfer links relating

                      to Mr. Azima.

          2.      All documents and communications from January 2018 to present relating to

   litigation involving Mr. Azima, including but not limited to:

                  a. All communications with Mr. Neil Gerrard, Mr. David Hughes, Mr. Jamie

                      Buchanan, Mr. Amit Forlit, Mr. Majdi Halabi, Mr. Stuart Page, Dechert, or

                      Stewarts Law related to Mr. Azima or Azima’s Associates;



                                                   7
Case 1:22-mc-20707-JEM Document 23-14 Entered on FLSD Docket 06/10/2022 Page 11 of
                                      11



                    b. All documents and communications regarding meetings between or among

                       you and/or any of the conspirators, including at the Hotel Moosegg in

                       Switzerland, any hotel in Cyprus, or any office(s) of Dechert;

                    c. All documents and communications regarding meetings or planned meetingsg

                       with U.S. law enforcement regarding Mr. Azima, including meetings in New

                       York and Texas; and

                    d. All travel records reflecting trips to Switzerland, Cyprus, England, or the

                       United States.

          3.        All records related to transactions in the state of Florida or the United States,

   including all bank records, wire transfers, tax records, and property owned or used by you in the

   United States.

          4.        All records related to Alon Omri Gurlavie, including information regarding Mr.

   Gurlavie’s address, date of birth, and United States immigration status.

          5.        All records related to your United States immigration status, including any prior

   U.S. immigration documents and applications.




                                                      8
